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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ; ELECTRON“:ALLY FH"ED
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Plaintiffs,
-against- 15-cV-4964 (LAK)
DANIEL CALEB FELDMAN,
Defendant-Third Party Plaintiff,
-against-
DAVID GODFREY, et al.,
Third-Party Defendants.
_____________________________________________ X

ORDER

LEwls A. KAPLAN, Dism'cz Judge.

Plaintiffs here seek a letter of request to the United Kingdom for the purpose of
compelling the testimony of (l) Eleanor Jane Malcolm, said to be the custodian of records at Julius Baer
Intemational Limited (“Julius Baer”), a United Kingdom company, and (2) Louise Whitestone, a UK
resident and former employee of Julius Baer, concerning issues said to be material to this action.
Defendant has no objection to the issuance of a letter of request but asserts that (1) Ms. Malcolm has no
personal information relevant to the authentication of the documents that plaintiffs hope she can
authenticate or of the circumstances that gave rise to their creation, (2) one Boris Kaladny, said to be the
global chief executive officer of Julius Baer should be examined in the place of Ms. Malcolm, (3) the
summary of the nature and purpose of the proceeding and of the facts to be attached to any letter of
request, as well as the description of the subject matter for the examination, should be expanded.

l decline to substitute Mr. Kaladny as a witness in the place of Ms. Malcolm. For one
thing, there is no evidence before me that Ms. Malcolm is not in a position to provide testimony relevant
to authentication of the documents in question and/or their admissibility in evidence. Defense counsel’s
unsubtantiated assertion is not evidence. F or another, defendant’s counsel perhaps overlooks the fact that
the letter of request plaintiffs seek is to obtain “evidence to be used at trial.” Dl 325-1, at 2. Thus, the
proposed depositions are de bene esse - any testimony the witnesses may give in such depositions will
would be for use in place of live testimony at trial. Accordingly, as the plaintiffs are masters of their
case at trial, they are masters of their case during such depositions. They are at liberty to examine
those witnesses they wish to call, and no others, on the subjects as to which plaintiffs wish to elicit
evidence, and no others, subject of course to the defendant’s right to cross-examine within the

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bounds imposed by Fed. R. Evid. 61 l(b).

Accordingly, plaintiffs’ motion [DI 324] is granted. Plaintiffs’ shall submit to
chambers three execution copies of the letter of request.

Nothing herein forecloses defendant from applying for a letter of request for Mr.
Kaladny. Further, counsel should explore fully the possibility of resolving any issues concerning
the authenticity and foundation for the admissibility of the documents as to which plaintiffs propose
to examine Ms. Malcolm consensually and informally and thus to eliminate the need for a deposition

of that witness.

Lewid/A./
United States Dlstricrt1 Judge

SO ORDERED.

Dated: September 20, 2017

